Case 2:03-cv-02352-.]PI\/|-tmp Document 120 Filed 07/07/05 Page 1 of 8 Page|D 113

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IN TI-IE UNITED S'I'ATES DISTRICT COURT

ron THE wEsTERN DIs'rRJ:cT oF TENNESSEE _
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COURTN'EY MONTEZ MEANS, GFW `_,.,i HB
ia`~i, 1‘-".`»'{_;¢

Plaintiff,
v. No. 03-2352 Ml/P

SHELBY COUNTY, CLAYTON BLAIR,
M.ARK LOWE, and CLARENCE TURKS,

VVVVVVVVVV

Defendants.

 

ORDER DENYING DEFENDA.NT SI'IELB'Y COUNTY'S MOTION TO DISMISS AMEN'DED
COMPLAINT

 

Before the Court is Defendant Shelby County’s motion to
dismiss Plaintiff's Amended Complaint pursuant to Federal Rule of
Civil Procedure l2(b)(6), filed February ll, 2005. Plaintiff
responded in opposition on April 5, 2005. For the following
reasons, the Court DENIES the motion.

I. BACKGROUND

This case arises out of purported injuries sustained by
Plaintiff as a result of an alleged attack by three Deputy
Sheriffs employed with the Shelby County Sheriff's Department.
Plaintiff initiated this action by filing a pro se complaint on
May 16, 2003.l Plaintiff subsequently filed an Amended Complaint
on February 8, 2005, renaming Shelby County as a Defendant in

this matter and adding a cause of action against Shelby County

 

1 On December l, 2004, the Court appointed Earle J. Schwarz, Esq.

as pro bono counsel for Plaintiff.

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Case 2:03-cv-O2352-.]PI\/|-tmp Document 120 Filed 07/07/05 Page 2 of 8 Page|D 114

pursuant to Tennessee Code Annotated § 8-8-302.2

The Amended Complaint alleges that Defendants Clayton Blair,
Mark Lowe, and Clarence Turks are liable under 42 U.S.C. § 1983
for depriving Plaintiff of his rights secured by the Eighth and
Fourteenth amendments to the United States Constitution by using
excessive and unreasonable force; that Defendants Blair, Lowe and
Turks are liable for committing a battery on Plaintiff in
violation of Tennessee law; that Defendant Shelby County is
directly liable for the intentional torts committed by Defendants
Blair, Lowe and Turks pursuant to Tennessee Code Annotated § 8-8-
302; and that Defendant Shelby County is liable under 42 U.S.C. §
1983 for maintaining a policy and/or custom that contributed to
the personal injuries sustained by Plaintiff.

According to the allegations in Plaintiff's Amended
Complaint, Plaintiff appeared in Shelby County General Sessions
Criminal Court Division 15 for a preliminary hearing on
approximately March 3, 2003. At that time, Plaintiff was an
inmate at the Shelby County Jail. Plaintiff alleges that
following the conclusion of the hearing, Defendants Clayton
Blair, Mark Lowe, and Clarence Turks, all of whom were Deputy
Sheriffs employed by the Shelby County Sheriff's Department,

attacked Plaintiff as they transported him from the courtroom

 

2 On February 8, 2005. the Court granted Plaintiff's motion for

relief from its November 19, 2004, order granting Defendant Shelby
County's motion for summary judgment. (Order, Feb. 8, 2005, at 2-3.)
On the same date, the Court granted Plaintiff’s motion for leave to
file an amended complaint to rename Shelby County as a Defendant in
this action and to add a cause of action against Shelby County
pursuant to Tennessee Code Annotated § 8-8-302. (Id. at 3.)

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Case 2:03-cv-02352-.]PI\/|-tmp Document 120 Filed 07/07/05 Page 3 of 8 Page|D 115

holding area into a tunnel.

After the attack, Plaintiff filed an inmate grievance with
the Shelby County Sheriff's Department. Following its
investigation, the Sheriff's Department found that the Defendant
Officers' alleged attack of Plaintiff did not violate a policy
and/or custom of the Shelby County Sheriff's Department.
Plaintiff alleges that the Shelby County Sheriff Department's
disciplinary process, executed by policy and/or custom,
contributed to the Defendant Officers' purported use of excessive
force against Plaintiff. Specifically, Plaintiff alleges that
the procedures maintained by the Sheriff's Department make it
clear to deputies that they will not be disciplined for using
excessive force against inmates.

II. STANDA.RD OF REV'IEW

Under Federal Rule of Civil Procedure 12(b)(6), a defendant
may move to dismiss the plaintiff’s complaint “for failure to
state a claim upon Which relief can be granted.” Fed. R. Civ. P.
12(b)(6). When considering a Rule 12(b)(6) motion to dismiss, a
court must treat all of the well-pleaded allegations of the
complaint as true, Saylor v. Parker Seal Co., 975 F.2d 252, 254
(6th Cir. 1992), and must construe all of the allegations in the
light most favorable to the plaintiff. Scheuer v. Rhodes, 416
U.S. 232, 236 (1974). “A court may dismiss a complaint only if
it is clear that no relief could be granted under any set of

facts that could be proved consistent with the allegations.”

Hishon v. King & Spalding, 467 U.S. 69, 73 (1984).

Case 2:03-cv-02352-.]PI\/|-tmp Document 120 Filed 07/07/05 Page 4 of 8 Page|D 116

III. ANLLYSIS

Pursuant to Federal Rule of Civil Procedure 12(b)(6),
Defendant Shelby County moves to dismiss Plaintiff's claims
brought under 42 U.S.C. § 1983 and Tennessee Code Annotated § 8-
8-302. The Court will address Defendant's contentions in turn.

A. 42 U.S.C. § 1983

A municipality may be held liable under § 1983 if the
municipality itself caused a constitutional deprivation. Monell
v. Dep’t of Soc. Servs. of New York, 436 U.S. 658, 690 (1978).
Before a local governmental unit can be held liable for injuries
pursuant to § 1983, “a plaintiff must show that his injuries were
the result of some ‘policy or custom' attributable to the
governmental entity.” Leach v. Shelby County Sheriff, 891 F.Zd
1241, 1245 (6th Cir. 1989) (quOting Monell, 436 U.S. at 690). A
municipality is not liable under § 1983 for an injury inflicted
solely by its employees or agents, but rather only when the
“execution of the government’s policy or custom ... inflicts the
injury.” City of Canton v. Harris, 489 U.S. 378, 385 (1989).
Further, the governmental entity is liable under § 1983 only when
the entity itself is a “moving force” behind the deprivation of
constitutional rights. K§g;ggky_yg_§;ghgm, 473 U.S. 159, 166
(1985).

The “first inquiry in any case alleging municipal liability
under § 1983 is the question whether there is a direct causal
link between a municipal policy or custom and the alleged

constitutional deprivation.” Monell, 436 U.S. at 690. Moreover,

Case 2:03-cv-02352-.]PI\/|-tmp Document 120 Filed 07/07/05 Page 5 of 8 Page|D 117

the policy or custom must evidence deliberate indifference on the
part of the municipality. Monell, 436 U.S. at 388 (“Only where
a municipality’s failure to train its employees in a relevant
respect evidences a ‘deliberate indifference' to the rights of
its inhabitants can such a shortcoming be properly thought of as
a city ‘policy or custom' that is actionable under § 1983.”)

Defendant contends that Plaintiff's § 1983 claim
should be dismissed because Plaintiff has not sufficiently pled a
policy and/or custom maintained by Shelby County that constituted
a moving force behind the Defendant Officers' alleged use of
excessive force. Plaintiff's Amended Complaint alleges, however,
that Defendant maintains a policy and/or custom that makes clear
to Sheriffs Deputies that they will not be disciplined for using
excessive force against inmates and that this policy and/or
custom contributed to the Defendant Officers' use of excessive
force against Plaintiff. Treating these allegations as true and
construing all of the allegations in the light most favorable to
the Plaintiff, the Court finds that Plaintiff has sufficiently
pled a claim for relief against Defendant pursuant to 42 U.S.C. §
1983. The Court therefore DENIES Defendant’s motion to dismiss
Plaintiff’s § 1983 claim.

B. Tennessee Code Annotated § 8-8-302

Defendant contends Plaintiff's claim pursuant to Tennessee

Code Annotated § 8-8-3023 should be dismissed because it is time-

 

3 Tennessee Code Annotated § 8-8-302 provides that:

(continued...)

Case 2:03-cv-02352-.]PI\/|-tmp Document 120 Filed 07/07/05 Page 6 of 8 Page|D 118

barred under the one year statute of limitations contained in
Tennessee Code Annotated § 28-3-104(a).4 The conduct by the
Defendant Officers that forms the basis of this suit occurred on
approximately March 3, 2003. Plaintiff filed his original
Complaint on May 16, 2003, well before the expiration of the one-
year limitations period. Plaintiff subsequently filed his
Amended Complaint on February 8, 2005.

Federal Rule of Civil Procedure 15(c)(2) provides that an
amendment to a complaint relates back to the date of the original
complaint when “the claim or defense asserted in the amended

pleading arose out of the conduct, transaction, or occurrence set

 

(...continued)

Anyone incurring any wrong, injury, loss, damage or expense
resulting from any act or failure to act on the part of any
deputy appointed by the sheriff may bring suit against the
county in which the sheriff serves; provided, that the
deputy is, at the time of such occurrence, acting by virtue
of or under color of the office.

Tenn. Code Ann. § 8-8-302.

4 Tennessee Code Annotated § 28-3-104(a) provides that “[t]he
following actions shall be commenced within one (1) year after the
cause of action accrued:

(l) Actions for libel, for injuries to the person, false
imprisonment, malicious prosecution, breach of marriage promise;

(2) Actions and suits against attorneys or licensed public
accountants or certified public accountants for malpractice,
whether the actions are grounded or based in contract or tort;

(3) Civil actions for compensatory or punitive damages, or
both, brought under the federal civil rights statutes; and

(4) Actions for statutory penalties.

Tenn. Code Ann. § 28-3-104(a).

Case 2:03-cv-02352-.]PI\/|-tmp Document 120 Filed 07/07/05 Page 7 of 8 Page|D 119

forth or attempted to be set forth in the original pleading.”
Fed R. Civ. P. 15(c)(2}. The Court finds that the Amended
Complaint satisfies this requirement. Plaintiff’s Amended
Complaint therefore relates back to May 16, 2003, the date on
which the original Complaint was filed. Accordingly, the Court
finds that Plaintiffs' Original Complaint was filed within the
applicable one-year limitations period. Defendant’s motion to
dismiss Plaintiff's claim pursuant to Tennessee Code Annotated §
8-8-302 is therefore DENIED.
IV. CONCLUSION

For the foregoing reasons, the Court DENIES Defendant’s
motion to dismiss Plaintiff's Amended Complaint pursuant to

Federal Rule of Civil Procedure 12(b)(6).

So ORDERED this l day of July, 2005.

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JO P. MCCALLA
ITED STATES DISTRICT JUDGE

 

  

   

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This notice confirms a copy of the document docketed as number 120 in
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